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                 UNITED STATES DISTRICT COURT

                 SOUTHERN DISTRICT OF GEORGIA

                           SAVANNAH DIVISION

JIMMY LEE EVERETT,

       Movant,

V.                                               Case No. CV411-150
                                                           CR408-063
                                                           CR607-031
UNITED STATES OF AMERICA,

       Respondent.


                                      II) 1 I)

       Jimmy Lee Everett has filed a motion for 28 U.S.C. § 2255 relief

raising four issues. (Doc. 1.1) Upon an initial review, the Court

determined that his fourth ground for relief appeared to have merit, so

it ordered further briefing. (Doc. 13.) The parties have submitted their

briefs (does. 14, 15, & 16), so the case is ready to proceed.

I. BACKGROUND

       Everett was named in three federal indictments in 2007 and 2008.

First, he was charged in December 2007 as one of 23 defendants who
       1 Unless otherwise noted, citations are to the docket in Everett's civil case,
CV411-150. Additionally, page references are to the CM/ECF screen page rather
than the referenced document's own internal pagination.
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conspired to steal vehicles, change their identification numbers, and

then sell them for a profit. United States v. Patterson, No. CR607-031,

doc. 1. Specifically, he was indicted for conspiracy, trafficking in

vehicles with altered identification numbers, trafficking in stolen

vehicles, and possession of counterfeit vehicle titles. Id., doc. 1;

(Presentence Investigation Report ("PSI") ¶J 1-7). 2 Then, in April 2008,

Everett was charged with 34 counts of bank fraud and one count of

making a false statement to a federally insured institution. United

States v. Everett ("Everett I"), No. CR408-063, doc. 1. That indictment

related to his embezzlement of more than $200,000 from his business,

Thompson Pavement Markings, Inc. ("TPM"). Id.; (PSI ¶{ 8, 93-97). In

a superseding indictment in that case he was also charged with

aggravated identify theft. Everett, No. CR408-063, doc. 15. Finally, in

May 2008, Everett was indicted for obstruction of justice for his attempt

to concoct a story exculpating him and the other Patterson defendants

from their misdeeds. United States v. Everett ("Everett II"), No. CR608-

007, doc. 3; (PSI ¶ 9).

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          The same PSI spanned all three cases.

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     Everett pled guilty to count six of the stolen vehicle indictment,

Patterson, No. CR607-031, doc. 1, charging him with trafficking vehicles

with altered identification numbers. Id., doc. 448. He also pled guilty

to one count of embezzlement in Everett I, No. CR408-63, doc. 21, and in

return, the obstruction indictment, Everett II, No. CR608-007, was

dismissed. In a consolidated judgment, the sentencing judge imposed

108 months of imprisonment on the vehicle trafficking count and 110

months on the bank fraud count, both to be served concurrently.

Patterson, No. CR607-031, doc. 682; Everett I, No. CR408-063, doc. 33.

Everett only appealed the vehicle trafficking portion of the sentence.

He argued that it was both procedurally and substantively

unreasonable. United States v. Everett, 368 F. App'x 952, 953 (11th Cir.

2010). Specifically, he contended that the district court erred in

calculating the United States Sentencing Guidelines advisory

sentencing range by considering the intended instead of the actual loss

and by concluding that he was a "leader" of the conspiracy rather than a

manager or supervisor. Id. at 953-54. The Eleventh Circuit affirmed,

finding that the district court had not erred and that the sentence was


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reasonable. Id. at 954. Thereafter, Everett filed this timely 28 U.S.C. §

2255 motion.

       Everett claims that his retained counsel, Michael J. Classens,

rendered ineffective assistance of counsel at both sentencing and on

appeal by failing to properly contest four components of his combined

PSI:

       (1)   the § 2131.1 loss amount in the stolen vehicle case, which was
             overstated since it included vehicles that shouldn't have
             been counted and overvalued them in general;

       (2)   the § 3131.1 leadership enhancement in the stolen vehicle
             case, since Everett acted only as a manager, not a leader;

       (3)   the § 2131.1 loss amount in the embezzlement case, which
             was also overstated;

       (4)   the § 21311(b)(10)(C)(i) two-level enhancement in the
             embezzlement case for the unauthorized transfer or use of
             any means of identification unlawfully to produce or obtain
             another means of identification, since he did not meet the
             enhancement's requirements.3

(Doc. 1 at 4.)




        Everett was sentenced under the 2008 version of the guidelines. (PSI ¶ 108.)
The guidelines have since been amended and the relevant section has been moved to
§ 2131.1(b)(11)(C)(i).


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II. ANALYSIS

     Everett's briefs are rambling and at times difficult to follow. His

primary brief in support of his § 2255 motion is disorganized, changes

heading styles seemingly at random, and bleeds argument on one point

into others. Nevertheless, the Court will address every contention

made in his prolix 41-page brief. S.D. Ga. LR 7.1(a) ("Absent prior

written permission of the Court, no party shall file any brief or legal

memorandum in excess of twenty-five (25) pages in length.").

     A. Loss Amount in Vehicle Case

     The PSI states that Everett was involved in the theft of 23

vehicles and the associated total intended loss was $803,419.39,

although the actual loss was closer to $332,450.29. (PSI ¶ 90.) Since

the total intended loss fell between $400,000 and $1,000,000, Everett

received a 14-point offense level enhancement. (PSI ¶ 111.) According

to Everett, Classens should have objected to the inclusion of some of the

vehicles since the related transactions were entirely undertaken by




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other conspirators, and he also should have objected to the district

court's inflated valuation of the vehicles.4

      In support of his effort to lower his guidelines offense level (by

reducing the loss amount below $400,000), Everett first claims that the

government promised to hold him accountable only for the vehicles

which were "directly" attributable to him. (Doe. 2 at 19-20.) He argues
         On ineffective assistance of counsel claims the Court applies Strickland v.
Washington, 466 U.S. 668, 687 (1984), which created a two-part test for determining
whether counsel performed ineffectively. First, the movant must demonstrate that
his attorney's performance was deficient, which requires a showing that "counsel
made errors so serious that counsel was not functioning as the 'counsel' guaranteed
by the Sixth Amendment." 484 U.S. at 687. Second, the defective performance must
have prejudiced the defense to such a degree that the results of the trial cannot be
trusted. Id.

       Under the performance prong, the reasonableness of an attorney's
performance is to be evaluated from counsel's perspective at the time of the alleged
error and in light of all the circumstances. Id. at 690. It is generally appropriate to
look to counsel's performance throughout the case in making such a determination.
Kimmelman v. Morrison, 477 U.S. 365, 386 (1986). The movant carries a heavy
burden, as "reviewing courts must indulge a strong presumption that counsel's
conduct falls within the wide range of professional assistance; that is, the defendant
must overcome the presumption that, under the circumstances, the challenged action
might be considered sound trial strategy." Id. at 689. Indeed, Everett must show
that "no competent counsel would have taken the action that his counsel did take."
Ford v. Hall, 546 F.3d 1326, 1333 (11th Cir. 2008), quoting Chandler v. United
States, 218 F.3d 1305, 1315 (11th Cir. 2000) (en banc).

       For the prejudice prong he must show that there was a reasonable probability
that the results would have been different but for counsel's deficient performance.
Kimmelman, 477 U.S. at 375; Strickland, 466 U.S. at 696. "A reasonable probability
is a probability sufficient to undermine confidence in the outcome." Strickland, 466
U.S. at 694; see also Lightbourne v. Dugger, 829 F.2d 1012, 1022 (11th Cir. 1987);
Boykins v. Wainwright, 737 F.2d 1539, 1542 (11th Cir. 1983).
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that he bears no responsibility for ten of the vehicles which his co-

conspirator, Troy Edenfield, sold to Randall Chambers, since those

transactions occurred without his direct involvement. (Doc. 2 at 19.)

Six more were only arguably attributable, but he admits involvement in

the remaining seven. (Id. at 19-20.)

     The government correctly asserts that no such promise was

memorialized in the record. Nothing was mentioned in his plea

agreement (CR607-031, doc. 668), nor was it discussed at Everett's Rule

11 hearing. (CR607-031, doe. 826.) In fact, at the Rule 11 hearing

Everett affirmed that no one had made him any promises outside those

stated in the plea agreement. (Id. at 17.) Everett's position is further

eroded by a tape recorded conversation with Edenfield where he

admitted that he had direct knowledge of the sales from Edenfield to

Chambers and others; Edenfield called him about every single car. (PSI

objections.) In fact, Everett recalled during a proffer interview that he

had cooperated to sell the vehicles to Chambers and had received an

equal share of the profits for several of the vehicles. (PSI ¶ 71.) So




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even if the government made such a promise, its definition of "direct

involvement" would likely cover those transactions.

      In response to the government's showing, Everett has shifted

gears: He now asks the Court to take his word for it that even if the

government made no such promise, Classens nevertheless conveyed it

to him. (Doe. 11 at 12.) He thus suggests that his plea was not

knowingly or voluntarily entered. 5 But the contention that he was

promised some benefit not stated in the plea agreement is refuted by

the record. He represented at the Rule 11 hearing that no one made

him any promises not recorded in the plea agreement, neither Classens

nor the government. (CR607-031, doe. 823 at 17.) His Rule 11

proceedings were careful and detailed. In the face of such a record, the

Court need not tolerate any present contention that he swore falsely in

open court. United States v. Stitzer, 785 F.2d 1506, 1514 (11th Cir.

1986) (citing United States v. Barrett, 514 F.2d 1241, 1243 (5th Cir.

1975)). Nor would it tolerate any claim that he was simply mistaken at

the earlier proceeding. The question was clear and Everett answered in

        In fact, in a follow-up declaration, Everett states that he was persuaded to
accept the plea based upon Classens' representations on that score. (Doe. 5 at 3-4.)

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the negative without hesitation. Such a contention would be utterly

incredible in the face of the record as a whole and would still be subject

to summary dismissal. Blackledge v. Allison, 431 U.S. 63, 74 (1977).6

       Everett also contends that the vehicles were overvalued and

Classens should have raised such a challenge. 7 (Doc. 2 at 22.) He

states that the probation officer relied on misleading claim figures and

otherwise failed to explain his methodology. (Id.) He asserts, utterly

without supporting data, that the vehicle valuations were overstated by

approximately 30 to 50 percent. (Id.) Even accepting that the vehicles

were overstated by 50 percent, the total intended loss still comes in at

just over $400,000. (Id.) Hence, this claim is a sure loser, for Everett

simply cannot show any prejudice even if Classens rendered deficient

performance. But Everett has not even met his pleading burden, since

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          The Court also rejects his assertion that Ronnie Lee, a co-defendant,
succeeded by raising essentially the same objection. (Doc. 2 at 16 n.5.) There, the
government simply chose not to contest Lee's objection because it was unprepared
and the objection ultimately did not change the Guidelines calculations. (CR607-031,
doc. 741 at 28-30.)

       ' Classens did argue at sentencing that the actual loss amount should control
rather than the intended loss amount, but the Court rejected that claim. (CR607-
031, doc. 745 at 14-15, 20-21.) He preserved the claim on appeal. Everett, 368 F.
App'x at 953-54. The Court of Appeals rejected it out of hand.
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he has not provided any documentation showing "true" fair market

value for any of the vehicles listed in the PSI. Caderno v. United States,

256 F.3d 1213, 1217 (11th Cir. 2001) (citing Tejada v. Dugger, 941 F.2d

1551, 1559 (11th Cir. 1991)) (no hearing, much less § 2255 relief, based

upon self-serving and conclusory claims); Holmes v. United States, 876

F.2d 1545, 1553 (11th Cir. 1989) (no hearing required on claims "which

are based on unsupported generalizations"); Rodriguez v. United States,

473 F.2d 1042, 1043 (5th Cir. 1973) (no hearing required where

petitioner alleged no facts to establish truth of his claims beyond bare

conclusory allegations).

      Since Everett's claims are meritless, Classens did not render

deficient performance for failing to pursue them. Consequently,

Everett's first claim fails.

      B. Leadership Enhancement

      Next, Everett insists that he was not a leader in the criminal

enterprise but merely a manager, and he thus did not deserve a four

point enhancement under USSG § 3131.1. (Doc. 2 at 25.) Classens,

according to Everett, rendered deficient performance for failing to argue


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the matter properly. (Id.) Everett cites the basic law on the issue, but

he has not offered any facts suggesting that he did not deserve the

leadership enhancement. Instead, he simply insists that Classens

rendered deficient performance by failing to mount a successful

challenge against the enhancement or preserve it through appeal. (Id.

at 26-26.) As such, it is entirely conclusory and fails to state a claim for

§ 2255 relief. See, e.g., Caderno, 256 F.3d at 1217.8

      Moreover, Classens raised the issue on appeal, and the Court of

Appeals explained:

   The record shows that Everett both participated in, and exercised
   authority over, nearly every aspect of the auto theft ring.
   Moreover, he failed to object to many of the factual findings
   underlying these points prior to or at the sentencing hearing.
   Having considered these facts and the factors set forth in the
   commentary to § 3B1.1, we conclude that the district court did not
   err in applying a four-level leadership enhancement for Everett's
   role in the auto theft ring.

Everett, 368 F. App'x at 954. To the extent Everett suggests that

Classens could have better undermined the factual support for the

        Moreover, the factual narrative in the PSI cuts against him. Everett directed
co-conspirators to steal vehicles back from purchasers in an insurance fraud scheme.
(PSI ¶ 44.) He recruited accomplices, and was personally involved in the acquisition,
sale, and alteration of 23 separate vehicles. (PSI ¶IT 21-90.) He sold vehicles to
knowing purchasers, and split profits with the other conspirators. (Id.)

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enhancement, his argument is contradicted by the record, including his

own admissions. 9 Consequently, this claim is without merit.

       C. Loss Amount in Embezzlement Case

      Next, Everett contends that Classens rendered deficient

performance by failing to raise proper objections to the loss amount in

the embezzlement case. 10 (Doe. 2 at 27.) The PSI attributed him with a

total loss amount of $210,865.96. (PSI ¶ 97.) As such, he received a 12

point USSG § 2B1.1(b)(1)(G) enhancement for a loss greater than


        Classens also challenged the enhancement with the probation officer assigned
to the case. (PSI objections.) The probation officer rejected the assertion, explaining
that Everett was one of the three primary figures in the enterprise, along with Leon
Patterson and Troy Edenfield. (Id.) Patterson provided counterfeit titles and VIN
decals, Edenfield sold and transferred most of the vehicles, and Everett contacted
Bernard Aikens, Ronnie Lee, and Leon Patterson to arrange for vehicles to be
delivered to Edenfield. (Id.) Both Edenfield and Patterson explained as much.
Edenfield stated that Everett made arrangements for each of the vehicles he received
to be delivered, and he affirmed in a tape recorded conversation with Edenfield that
he knew of every vehicle moving through the enterprise, including vehicles sold to
Champers and Valeriano Gapac. (Id.) He also assisted Woodard Lewis, John
Fitzgerald Jones, John Allen Williams, and Barry McCoy in the acquisition of stolen
vehicles, and he helped Williams dispose of vehicles after authorities began to
investigate. (Id.) Given that there were five or more participants and Everett led the
actions of at least one of the participants, the enhancement was proper. United
States v. Jiminez, 224 F.3d 1243 (11th Cir. 2000).
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         Everett, part owner of Thompson Pavement Marking, Inc. ("TPM")
admittedly embezzled money by having customers make checks payable directly to
him, which he either cashed for his own use or deposited into his personal checking
account without TPM's knowledge. (PSI ¶T 93-97; see CR408-063, doc. 15 at 2
(indictment).) He also deposited checks in a Sea Island Bank business checking
account that he opened in TPM's name. (Id.)

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$200,000 but less than $400,000. (PSI ¶ 120.) Everett contends that

$35,935.96 should have been excluded from the calculations, since the

losses occurred before he had even set up the South Carolina Bank &

Trust bank account through which the PSI reported that he had

transacted the checks. (Doc. 2 at 27; PSI ¶ 97.)

     The government no longer has access to the appropriate bank

records, but it does not deny that a South Carolina Bank & Trust

account was established after those particular checks were transacted.

(Doc. 8 at 20-21.) It speculates, however, that Everett could have

cashed the checks prior to opening the account, the payment could have

been drawn on his customers' accounts at SCBT, or he may have

fraudulently received and cashed cashiers' checks drawn by that bank

in the course of the scheme. (Id.) More importantly, however, it puts

Everett to his Strickland burden. As it points out, Everett has not

suggested that the transactions were not fraudulent and were thus not

properly counted towards TPM's total loss amount under § 2B1.1.

Without some plausible explanation here, the Court cannot find that

Classens' failure to challenge the attribution was prejudicial. In other


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words, while the PSI might have contained mistaken information as to

how the transactions occurred, it does not necessarily show that the

transactions should not have been counted in the total loss amount.

Absent some explanation from Everett suggesting that the money did

not constitute ill-gotten gains from TPM, he cannot satisfy Strickland's

prejudice requirement. Hence, this claim also fails.

     D. Identity Theft Enhancement

     On this claim familiarity with the prior order (doe. 13) is

presumed. The crux of the dispute boils down to one factual issue: if

Colleen Thompson, Everett's business partner at TPM, had knowledge

that Everett was opening a bank account at Sea Island Bank (an

account he later used for embezzling) and signed the paperwork

allowing its creation, then the USSG § 2B1.1(b)(10)(C)(i) enhancement

does not apply, and Classens likely rendered deficient performance by

failing to pursue the issue further at sentencing or on appeal. (Id. at 7-

8.) On the other hand, if she signed the forms authorizing the account's

creation under false pretenses arising from his deception, the

enhancement would apply. (Id.)


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     The government has submitted an affidavit from Thompson

stating that she had no knowledge that her signature was used to open

the Sea Island bank account. (Doc. 14, doc. 14-1 (Thompson Aff.).) She

admits, however, that she signed a deposit account agreement and

corporate authorization resolution. (Doc. 14-1 at 4.) She states that she

now sees the boxes for "new" and "checking" were checked and that the

resolution allowed Everett to open any deposit account in the name of

the corporation, but she states that she relied on Everett to describe the

purpose of the documents and he lied to her, saying the bank simply

needed the forms to update contact information. (Id. at 4-5.) Everett

insists that she did know the true purpose of the forms and that she

approved the opening of a checking account since one was required to

obtain a loan the company sought. (Doc. 16 at 11-12.)

    Since there is a fundamental conflict in this new evidence, the

Court must hold a hearing on this matter. Anderson v. United States,

948 F.2d 704, 706 (11th Cir. 1991) (unless the record is adequate to

show conclusively that the movant's contentions are without merit, the

district court must conduct a hearing). In addition to resolving this


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factual dispute, the Court will entertain further argument on whether

the enhancement applies at all when the "means of identification"

stolen belonged to a business rather than an individual. Compare

United States v. Hilton, 2010 WL 2926055 at *1..3 (W.D.N.C. July 23,

2010) (collecting cases applying the enhancement where defendant stole

a business's "means of identification), with Alfano v. United States, 592

F. Supp. 2d 149, 156-60 (D. Me. 2008) (suggesting that the

enhancement did not encompass corporations).

III. CONCLUSION

     For the foregoing reasons, the undersigned will recommend that
Grounds 1-3 be DENIED in the final Report and Recommendation to
the district judge assigned to this case. Ground 4, however, requires a
hearing. Under Rule 8(c) of the Rules Governing Section 2255
Proceedings, Everett is entitled to the appointment of counsel pursuant
to 18 U.S.C. § 3006A(g) to represent him at the evidentiary hearing. The
Clerk is therefore DIRECTED to prepare the necessary paperwork for
appointment of counsel and to schedule a hearing on this matter. The
parties are advised, however, that the hearing is limited to Everett's
Ground 4 contentions. The Court will not entertain any argument or

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testimony pertaining to any of movant's other allegations.
     SO ORDERED this ____ day of June, 2012.


                                         UNITED TATES MAGISTRATE JUDGE
                                         SOUTHERN DISTRICT OF GEORGIA




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